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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

                                                 )
ASTRAZENECA AB and                               )
ASTRAZENECA PHARMACEUTICALS                      )
LP,                                              )
                                                 )
                  Plaintiffs,                    )
                                                 )               Civil Action No. _____
                  v.                             )
                                                 )
ALEMBIC PHARMACEUTICALS LTD.,                    )
and ALEMBIC PHARMACEUTICALS,                     )
INC.,                                            )
                                                 )
                  Defendants.                    )


                          COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiffs AstraZeneca AB and AstraZeneca Pharmaceuticals LP (collectively

“AstraZeneca” or “Plaintiffs”), by its attorneys, hereby alleges as follows:

                                    NATURE OF THE ACTION

        1.        This is an action for patent infringement arising under the patent laws of the

United States, Title 35, United States Code, against defendants Alembic Pharmaceuticals Ltd.

(“Alembic India”) and Alembic Pharmaceuticals, Inc. (“Alembic USA”) (collectively,

“Alembic” or “Defendant”). This action relates to Abbreviated New Drug Application

(“ANDA”) No. 208576 (“ticagrelor ANDA”) filed by Defendant with the U.S. Food and Drug

Administration (“FDA”) for approval to market 60 mg and 90 mg generic versions of

AstraZeneca’s BRILINTA® (ticagrelor) drug product prior to expiration of AstraZeneca’s U.S.




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Patent No. 10,300,065 (“the ’065 patent”), that is listed in the Approved Drug Products with

Therapeutic Equivalence Evaluations (“Orange Book”) for BRILINTA®.

                                              PARTIES

        2.        AstraZeneca is engaged in the business of creating, developing, and bringing to

market revolutionary biopharmaceutical products to help patients prevail against serious

diseases, including treatments for cardiovascular diseases.

        3.        Plaintiff AstraZeneca AB is a company operating and existing under the laws of

Sweden, with its principal place of business at SE-151 85 Södertälje, Sweden. AstraZeneca AB

is the owner of the ’065 patent.

        4.        Plaintiff AstraZeneca Pharmaceuticals LP is a limited partnership operating and

existing under the laws of Delaware, with its principal place of business at One MedImmune

Way, Gaithersburg, Maryland 20878. AstraZeneca Pharmaceuticals LP is the holder of New

Drug Application (“NDA”) No. 022433 for BRILINTA® (ticagrelor). AstraZeneca

Pharmaceuticals LP markets and sells BRILINTA® in this judicial district and throughout the

United States. Defendant specifically directed a letter dated August 2, 2022 with the heading

“Re: Notification of Certification Under 21 U.S.C. § 355(j)(2)(B) of the Federal Food, Drug &

Cosmetic Act, and Under 21 C.F.R. § 314.95 Alembic Pharmaceuticals Ltd. – Ticagrelor Tablet

90 mg ANDA No. 208576” (“Notice Letter”) to AstraZeneca Pharmaceuticals LP.

        5.        On information and belief, Alembic India is a corporation organized and existing

under the laws of India, having a principal place of business at Alembic Road, Vadodara 390003,

Gujarat, India. On information and belief, Alembic India, itself and through its affiliates and

subsidiaries, including Alembic USA, formulates, manufactures, packages, and markets generic

drug products for distribution in the District of Delaware and throughout the United States.
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        6.        On information and belief, Alembic USA is a corporation organized and existing

under the laws of the State of Delaware, having a principal place of business at 750 Highway

202, Bridgewater, New Jersey 08807. On information and belief, Alembic USA is a wholly-

owned subsidiary and U.S. agent of Alembic India.

        7.        On information and belief, Alembic USA is a pharmaceutical company that

formulates, manufactures, packages, and markets generic drug products for distribution in the

District of Delaware and throughout the United States.

        8.        On information and belief, Alembic USA is qualified to do business in Delaware

and appointed a registered agent for service of process, by filing with the Secretary of State on

August 10, 2012 pursuant to sections 371 and 376 of title 8 of the Delaware Code: (1) a

certificate of incorporation as a domestic corporation, under file number 5197177; and (2) a

statement naming “National Registered Agents, Inc.” located at 1209 Orange Street,

Wilmington, Delaware, 19801, as its registered agent to accept service of process in the State of

Delaware.

        9.        On information and belief, Defendant developed the proposed generic products

that are the subject of the ticagrelor ANDA to seek regulatory approval from FDA to market and

sell the proposed ANDA products throughout the United States, including within Delaware.

        10.       On information and belief, and consistent with its practice with respect to other

generic products, following FDA approval of the ticagrelor ANDA, Defendant will distribute and

sell the generic products described in the ticagrelor ANDA throughout the United States and

within Delaware.




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                                   JURISDICTION AND VENUE

        11.       Each of the preceding paragraphs 1 to 10 is re-alleged and re-incorporated as if

fully set forth herein.

        12.       This action arises under the patent laws of the United States, 35 U.S.C. §§ 100, et

seq., and this Court has jurisdiction over the subject matter of this action under 28 U.S.C.

§§ 1331, 1338(a), 2201, and 2202.

        13.       Venue is proper in this Court under 28 U.S.C. §§ 1391 and 1400(b).

        14.       On information and belief, venue is proper in the District of Delaware for

Alembic India because it is an Indian corporation “not resident in the United States” that

accordingly “may be sued in any judicial district” for venue purposes. 28 U.S.C. § 1391(c)(3);

see also In re HTC Corp., 889 F.3d 1349, 1354 (Fed. Cir. 2018) (reaffirming the “long-

established rule that suits against aliens are wholly outside the operation of all the federal venue

laws, general and special” (quoting Brunette Mach. Works, Ltd. v. Kockum Indus., Inc., 406 U.S.

706, 714 (1972))).

        15.       On information and belief, venue is proper in the District of Delaware for

Alembic USA because it is incorporated in Delaware, and thus the District of Delaware is the

judicial district “where the defendant resides.” 28 U.S.C. § 1400(b); see also TC Heartland LLC

v. Kraft Foods Grp. Brands LLC, 581 U.S. ____, 137 S. Ct. 1514, 1521 (2017) (“[a]s applied to

domestic corporations, ‘reside[nce]’ in § 1400(b) refers only to the State of incorporation”).

        16.       Alembic India is subject to specific personal jurisdiction in this District based on

the filing of its ticagrelor ANDA with a Paragraph IV certification regarding the ’065 patent.

See Acorda Therapeutics Inc. v. Mylan Pharm. Inc., 817 F.3d 755, 762-63 (Fed. Cir. 2016).


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          17.     As in Acorda, Alembic India “has taken the costly, significant step of applying to

the FDA for approval to engage in future activities—including the marketing of its generic

drugs—that will be purposefully directed at,” on information and belief, this District and

elsewhere. Acorda Therapeutics, 817 F.3d at 759.

          18.     Alembic India’s “ANDA filings constitute formal acts that reliably indicate plans

to engage in marketing of the proposed generic drugs.” Acorda Therapeutics, 817 F.3d at 760.

          19.     As in Acorda, on information and belief Alembic India, alone and/or in concert

with its agent, Alembic USA, “intends to direct sales of its drugs” into this District, among other

places, “once it has the requested FDA approval to market them.” Acorda Therapeutics, 817 F.3d

at 758.

          20.     On information and belief, Alembic India, alone and/or in concert with its agent,

Alembic USA, will engage in marketing of its proposed ticagrelor ANDA products in Delaware,

upon approval of its ticagrelor ANDA.

          21.     Alembic India’s ANDA filing, including its Paragraph IV certifications regarding

the ’065 patent at issue here, is suit-related and has a substantial connection with this District

because it reliably, non-speculatively predicts activities in this District by Defendant.

          22.     “[T]he minimum-contacts standard is satisfied by the particular actions

[Defendant] has already taken—its ANDA filing[]—for the purpose of engaging in that injury-

causing and allegedly wrongful marketing conduct” in this District. Acorda Therapeutics, 817

F.3d at 760.

          23.     On information and belief, Alembic India and Alembic USA hold themselves out

as a unitary entity for purposes of manufacturing, marketing, selling, and distributing generic

products.
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        24.       On information and belief, Alembic India and Alembic USA work in concert with

each other with respect to the regulatory approval, manufacturing, marketing, sale, and

distribution of generic pharmaceutical products in the District of Delaware and throughout the

United States.

        25.       On information and belief, Alembic India and Alembic USA acted in concert to

develop the proposed generic products that are the subject of the ticagrelor ANDA to seek

regulatory approval from FDA to market and sell the proposed ANDA products in the District of

Delaware and throughout the United States.

        26.       On information and belief, Alembic India and Alembic USA work in concert with

each other with respect to the regulatory approval, manufacturing, marketing, sale, and

distribution of generic pharmaceutical products in the District of Delaware and throughout the

United States.

        27.       In the Notice Letter, Defendant notified AstraZeneca Pharmaceuticals LP that it

had submitted its ticagrelor ANDA to the FDA under Section 505(j) of the Federal Food, Drug,

and Cosmetic Act (21 U.S.C. § 355(j)). The Notice Letter states that it “is provided by Alembic,

by and through the undersigned authorized representative, to whom any inquiry, reply or other

correspondence should be addressed.” The Notice Letter was sent by Alembic to AstraZeneca

Pharmaceuticals LP in the United States, specifically in this District.

        28.       On information and belief, the preparation and submission of the ticagrelor

ANDA by Alembic India was done at the direction, under the control, in concert with, and/or for

the direct benefit of Alembic USA.

        29.       Further, on information and belief, Alembic India and Alembic USA will

manufacture, market, and/or sell within the United States the generic products described in the
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ticagrelor ANDA if FDA approval is granted. If the ticagrelor ANDA is approved, on

information and belief the generic products would, among other things, be marketed and

distributed in Delaware, prescribed by physicians practicing in Delaware, and dispensed by

pharmacies located within Delaware, and/or used by patients in Delaware, all of which would

have a substantial effect on Delaware.

        30.       Furthermore, Alembic India and Alembic USA have both previously been sued in

this judicial district without objecting on the basis of lack of personal jurisdiction and have

availed themselves of Delaware courts through the assertion of counterclaims. See, e.g.,

AstraZeneca AB et al. v. Alembic Pharm. Ltd. et al., C.A. No. 1:21-cv-00875-RGA; Amgen Inc.

et al. v. Alembic Pharm. Ltd. et al., C.A. No. 1:21-cv-00061-CFC; Otsuka Pharm. Co., Ltd. et al.

v. Alembic Pharm. Ltd. et al., C.A. No. 1:20-cv-01365-LPS; AbbVie Inc. et al. v. Alembic

Pharm. Ltd. et al., C.A. No. 1:20-cv-01009-LPS; AstraZeneca AB et al. v. Alembic Pharm. Ltd.

et al., C.A. No. 1:20-cv-00202-RGA; Novartis Pharm. Corp. v. Alembic Pharm. Ltd. et al., C.A.

No. 1:20-cv-00074-LPS; Otsuka Pharm. Co., Ltd. et al. v. Alembic Pharm. Ltd. et al., C.A. No.

1:19-cv-02007-LPS; CyDex Pharm., Inc. v. Alembic Global Holding SA et al., C.A. No. 1:19-cv-

00956-LPS; Genentech, Inc. et al. v. Alembic Pharm., Ltd. et al., C.A. No. 1:19-cv-00177-RGA;

Boehringer Ingelheim Pharm. Inc. et al. v. Alembic Pharm. Ltd. et al., C.A. No. 1:18-cv-01762-

CFC; H. Lundbeck A/S et al. v. Alembic Pharm. Ltd. et al., C.A. No. 1:18-cv-00113-LPS; Wyeth

LLC et al. v. Alembic Pharm. Ltd. et al., C.A. No. 1:16-cv-01305-RGA; Bayer Pharma AG et al.

v. Alembic Pharm. Ltd. et al., C.A. No. 1:15-cv-00832-GMS; Sanofi et al. v. Alembic Pharm.

Ltd., C.A. No. 1:14-cv-00424-RGA; Teijin Ltd. et al. v. Alembic Pharm. Ltd., 1:13-cv-01939-

SLR; Pfizer Inc. et al. v. Alembic Ltd. et al., 1:11-cv-01213-GMS.


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        31.       Alembic India and Alembic USA have also availed themselves of Delaware

courts by filing cases in this District as plaintiffs. See, e.g., Alembic Pharm. Ltd. et al. v.

GlaxoSmithKline LLC et al., C.A. No. 1:18-cv-01513-RGA.

        32.       This Court also has personal jurisdiction over Alembic India and Alembic USA

because, inter alia, Alembic India and Alembic USA have purposefully availed themselves of

the rights and benefits of Delaware law by engaging in systematic and continuous contacts with

the State of Delaware. On information and belief, Alembic India and Alembic USA regularly

and continuously transact business within the state of Delaware, including by selling

pharmaceutical products in Delaware, directly and/or through affiliates, and/or by continuously

and systematically placing goods into the stream of commerce for distribution throughout the

United States, including Delaware. On information and belief, Alembic India and Alembic USA

derive substantial revenue from the sale of those products in Delaware and have availed

themselves of the privilege of conducting business within the State of Delaware.

        33.       For example, on information and belief, on August 10, 2012, Alembic USA was

incorporated in the State of Delaware as a “domestic” corporation under file number 5197177.

        34.       For these reasons and for other reasons that will be presented to the Court if

jurisdiction is challenged, the Court has personal jurisdiction over Alembic India and Alembic

USA.

                                          PATENT-IN-SUIT

        35.       On May 28, 2019, the U.S. Patent and Trademark Office duly and legally issued

the ’065 patent, entitled “Method of treating or prevention of atherothrombotic events in

patients with history of myocardial infarction.” A true and correct copy of the ’065 patent is


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attached hereto as Exhibit A. The claims of the ’065 patent are valid and enforceable.

AstraZeneca AB is the owner of the ’065 patent by assignment and has the right to enforce it.

        36.       AstraZeneca Pharmaceuticals LP is the holder of NDA No. 022433 by which

FDA granted approval for the marketing and sale of ticagrelor tablets in 90 mg and 60 mg

dosage strengths, to reduce the rate of cardiovascular death, myocardial infarction, and stroke in

patients with acute coronary syndrome (ACS) or a history of myocardial infarction (MI), to

reduce the risk of stent thrombosis in patients who have been stented for treatment of ACS, and

to reduce the risk of a first MI or stroke in patients with coronary artery disease (CAD) at high

risk for such events. AstraZeneca markets ticagrelor tablets in the United States, through

AstraZeneca Pharmaceuticals LP, under the trade name “BRILINTA®.” FDA’s official

publication of approved drugs, the Orange Book, includes BRILINTA® in 90 mg and 60 mg

dosage strengths together with Orange Book-listed patents protecting BRILINTA® and its use,

including the ’934 and ’065 patents.

                               INFRINGEMENT BY DEFENDANT

        37.       Each of the preceding paragraphs 1 to 36 is re-alleged and re-incorporated as if

fully set forth herein.

        38.       In the Notice Letter, Alembic notified AstraZeneca Pharmaceuticals LP that it had

submitted its ticagrelor ANDA to the FDA under Section 505(j) of the Federal Food, Drug, and

Cosmetic Act (21 U.S.C. § 355(j)).

        39.       The Notice Letter states that Alembic is seeking approval from FDA to engage in

the commercial manufacture, use, and sale of 90 mg generic ticagrelor tablets before the

expiration of, inter alia, the ’065 patent. On information and belief, in combination with a

second Notice Letter sent by Alembic to AstraZeneca Pharmaceuticals LP on September 8, 2020
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pertaining to 60 mg generic ticagrelor tablets (see C.A. No. 21-875-RGA, D.I. 1), Alembic

intends to engage in the commercial manufacture, use, and sale of its 60 mg and 90 mg generic

ticagrelor tablets after receiving FDA approval to do so.

           40.    In the Notice Letter, Alembic notified AstraZeneca that its ANDA contained a

“Paragraph IV certification” asserting that the ’065 patent is invalid, unenforceable, and/or will

not be infringed by the commercial manufacture, use, and sale of Alembic’s generic ticagrelor

tablets.

           41.    This Complaint is being filed before the expiration of the forty-five days from the

date AstraZeneca received the Notice Letter.

                      COUNT I (INFRINGEMENT OF THE ’065 PATENT)

           42.    Each of the preceding paragraphs 1 to 41 is re-alleged and re-incorporated as if

fully set forth herein.

           43.    Defendant’s submission of its ticagrelor ANDA to obtain approval to engage in

the commercial manufacture, use, offer to sell, or sale of 60 mg and 90 mg generic ticagrelor

tablets prior to the expiration of the ’065 patent constituted an act of infringement under 35

U.S.C. § 271(e)(2)(A).

           44.    On information and belief, upon FDA approval of Defendant’s ticagrelor ANDA,

Defendant will further infringe at least claim 1 of the ’065 patent by making, using, offering to

sell, and selling its 60 mg and/or 90 mg generic ticagrelor tablets in the United States and/or

importing such tablets into the United States in violation of 35 U.S.C. §§ 271(a), 271(b), and/or

271(c) unless enjoined by the Court.




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        45.       Defendant, in its Notice Letter, provides no relevant factual basis for contending

that its ticagrelor ANDA product will not infringe the claims of the ’065 patent under 35 U.S.C.

§§ 271(a), 271(b), or 271(c).

        46.       Defendant’s alleged non-infringement position is premised on the fact that “none

of the end users” of Defendant’s 90 mg ticagrelor tablets would infringe the claims of the ’065

patent, which require administration of a 60 mg tablet of ticagrelor. According to Defendant,

AstraZeneca’s patent rights in the ’065 patent are allegedly exhausted once AstraZeneca, and not

Defendant, sells the 60 mg ticagrelor tablets to patients.

        47.       Defendant’s position ignores that its Notice Letter incorporates its previous

September 8, 2020 Notice Letter by reference, which was directed to 60 mg ticagrelor tablets.

        48.       Defendant has filed a single ANDA No. 208576 seeking FDA approval to engage

in the commercial manufacture, use, offer to sell, or sale of 60 mg and 90 mg generic ticagrelor

tablets prior to the expiration of the ’065 patent.

        49.       Accordingly, upon FDA approval, on information and belief Defendant would

market both 60 mg and 90 mg generic ticagrelor tablets to patients throughout the United States,

including Delaware.

        50.       If Defendant’s marketing and sale of 60 mg and 90 mg generic ticagrelor tablets

prior to expiration of the ’065 patent and all other relevant exclusivities is not enjoined,

AstraZeneca will suffer substantial and irreparable harm for which there is no remedy at law.

                                      PRAYER FOR RELIEF

        WHEREFORE, AstraZeneca respectfully prays that this Court grant the following relief:

        1.        A judgment that the claims of the ’065 patent are not invalid, not unenforceable,

and are infringed by Defendant’s submission of its ticagrelor ANDA, and that Defendant’s
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making, using, offering to sell, or selling in the United States, or importing into the United States

Defendant’s 60 mg and 90 mg generic ticagrelor tablets will infringe the ’065 patent.

        2.        An order pursuant to 35 U.S.C. § 271(e)(4)(A) providing that the effective date of

any approval of Defendant’s ticagrelor ANDA shall be a date which is not earlier than the latest

expiration date of the ’065 patent, including any extensions and/or additional periods of

exclusivity to which AstraZeneca is or becomes entitled.

        3.        An order permanently enjoining Defendant, its affiliates, subsidiaries, and each of

its officers, agents, servants and employees, and those acting in privity or concert with them,

from making, using, offering to sell, or selling in the United States, or importing into the United

States Defendant’s 60 mg and 90 mg generic ticagrelor tablets until after the latest expiration

date of the ’065 patent, including any extensions and/or additional periods of exclusivity to

which AstraZeneca is or becomes entitled.

        4.        Damages or other monetary relief to AstraZeneca if Defendant engages in

commercial manufacture, use, offers to sell, sale, or importation in or into the United States of

Defendant’s 60 mg and 90 mg generic ticagrelor tablets prior to the latest expiration date of the

’065 patent, including any extensions and/or additional periods of exclusivity to which

AstraZeneca is or becomes entitled.

        5.        Such further and other relief as this Court deems proper and just, including any

appropriate relief under 35 U.S.C. § 285.




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DATED: September 16, 2022                MCCARTER & ENGLISH, LLP

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